     Case
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 1                                  UNITED STATES DISTRICT COURT
 2                                         DISTRICT OF NEVADA
 3                                                   ***
 4
 5     UNITED STATES OF AMERICA,                           2:10-CR-281-KJD-PAL

 6                            Plaintiff,                    ORDER TO TEMPORARILY MODIFY
                                                           CONDITIONS OF PRETRIAL RELEASE
 7     vs.

 8     MICHAEL CAPODICI et al.,

 9                            Defendants.

10
                     Defendant, Michael Capodici, having moved this Court for modification of his
11
      conditions of pretrial release pursuant to 18 U.S.C. §3145 and Pretrial Services and the Government
12
      having consented to a modification of the conditions of pretrial release,
13
                     IT IS HEREBY ORDERED THAT Defendant Michael Capodici will be permitted
14
      to travel to visit his parents in Folsom, Pennsylvania from December 20 until December 31, 2010.
15
                     IT IS FURTHER ORDERED THAT, prior to traveling to visit his parents, Mr.
16
      Capodici must provide the details and itinerary of his travel, including contact information for where
17
      and with whom he will be staying, to Pretrial Services.
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19                                                    Dated: December 17, 2010

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21                                                   UNITED
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 1                                CERTIFICATE OF ELECTRONIC SERVICE
 2                     The undersigned hereby certifies that she is an employee of the Law Offices of the
 3    Federal Public Defender for the District of Nevada and is a person of such age and discretion as
 4    to be competent to serve papers.
 5                     That on December 17, 2010, she served an electronic copy of the above and foregoing
 6    UNOPPOSED MOTION TO TEMPORARILY MODIFY CONDITIONS OF PRETRIAL
 7    RELEASE by electronic service (ECF) to the person named below:
 8
 9                                       DANIEL BOGDEN
                                         United States Attorney
10                                       BRIAN YOUNG
                                         Assistant United States Attorney
11
12
                                                           /s/ Claudia Lopez
13                                                         ___________________________________________
                                                           Claudia Lopez, an Employee of the Law Office of the
14                                                         Federal Public Defender
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